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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                      WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,

                               Plaintiff,            :       Case No. 3:09-cr-181


                                                             District Judge Walter Herbert Rice
       -   vs   -                                            Magistrate Judge Michael R. Merz

KENNETH CARTER,


                               Defendant.            :



                       REPORT AND RECOMMENDATIONS


       This case is before the Court on Defendant’s Motion to Vacate Pursuant to 28 U.S.C. §

2255, brought with the assistance of counsel (ECF No. 93). Rule 4 of the Rules Governing §

2255 Proceedings provides:

                The judge who receives the motion must promptly examine it. If it
                plainly appears from the motion, any attached exhibits, and the
                record of prior proceedings that the moving party is not entitled to
                relief, the judge must dismiss the motion and direct the clerk to
                notify the moving party. If the motion is not dismissed, the judge
                must order the United States to file an answer, motion, or other
                response within a fixed time, or take other action the judge may
                order.




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         As with all collateral attacks on criminal judgments filed at the Dayton location of court,

the § 2255 proceedings have been referred to the undersigned pursuant to General Order Day 13-

01.

         Carter claims the benefit of Johnson v. United States, 576 U.S. ___, 135 S. Ct. 2551, 192

L. Ed. 2d 569 (2015), the Supreme Court found the residual clause of the Armed Career Criminal

Act (“ACCA”), 18 U.S.C. § 924(e)(1), to be unconstitutionally vague.         Johnson announced a

new substantive rule that has retroactive effect in cases on collateral review. Welch v. United

States, 576 U.S. ___, 136 S. Ct. 1257 (2016); In re: Windy Watkins, 810 F.3d 375 (6th Cir.

2015).



Procedural History



         Kenneth Carter was indicted by the grand jury for this District on December 22, 2009,

and charged with conspiracy to distribute cocaine in excess of five kilograms (Count One),

violation of the Hobbs Act (Count Two), possession of a firearm in furtherance of a drug

trafficking crime (Count Three), and possession of a firearm in furtherance of a crime of violence

(Count Four)(Indictment ECF No. 14). On June 3, 2010, he entered into a Plea Agreement with

the United States under which he agreed to plead to Counts Two and Four (ECF No. 38, PageID

142). He acknowledged that Count Four carried a mandatory minimum sentence of sixty months

which was required to be served consecutively to any sentence on Count Two. Id. at ¶ 2.

         Having accepted Carter’s plea, Judge Rice referred the case to the Probation Department

for preparation of a Presentence Investigation Report (“PSR”). Having reviewed the PSR, Judge

Rice adopted it without change (Statement of Reasons, ECF No. 58, PageID 209). He then



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imposed a sentence of thirty-six months on Count Two and sixty months consecutive on Count

Four (Minute entry, ECF No. 54; Judgment, ECF No. 57). Carter took no appeal, but filed the

instant § 2255 Motion on July 21, 2016.



                                          Analysis


       Johnson, supra, declared unconstitutional the so-called residual clause of the ACCA.

However, Carter was not sentenced under the ACCA which is 18 U.S.C. § 924(e) and requires

three prior qualifying predicate convictions. Rather, Count Four charged him with possessing a

firearm in furtherance of a Hobbs Act violation under 18 U.S.C. § 924(c)(1)(A)(ii). He pled

guilty to that charge and received the minimum mandatory penalty of five years imprisonment

consecutive to the Hobbs Act sentence.

       The charge to which Carter pled guilty does not require proof of any prior qualifying

convictions. Rather it requires only that the firearm have been possessed in furtherance of a

crime of violence. 18 U.S.C. § 924(c)(1)(C)(3) defines “crime of violence”:

              (3) For purposes of this subsection the term “crime of violence”
              means an offense that is a felony and—
              (A)
              has as an element the use, attempted use, or threatened use of
              physical force against the person or property of another, or

              (B)
              that by its nature, involves a substantial risk that physical force
              against the person or property of another may be used in the course
              of committing the offense.

Count Two of the Indictment, the Hobbs Act violation to which Carter pled guilty, charged him

with conspiring to interfere with commerce “by robbery and threats of physical violence.” The

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Indictment thus tracked the statute, 18 U.S.C. § 1951, which has as an element the use or

threatened use of force against the person or property of another. The Hobbs Act violation

charged in the Indictment here, and to which Carter pled guilty, needs no reference to the

residual clause of 18 U.S.C. § 924(c)(1)(C)(3) to qualify.

       In any event, the Sixth Circuit has held 18 U.S.C. § 924(c)’s definition of crime of

violence was not unconstitutional, even in light of Johnson. United States v. Taylor, 814 F.3d

340 (6th Cir. 2016). Carter acknowledges Taylor, but says he wishes to preserve this issue “in

the event the en banc court or Supreme Court rules otherwise.” (Motion, ECF No. 181, PageID

447.) The Sixth Circuit has denied rehearing en banc. United States v. Taylor, 2016 U.S. App.

LEXIS 9974 (6th Cir. May 9, 2016). Although certiorari from the Supreme Court remains

possible, this Court must follow published precedent of the Sixth Circuit so long as it remains

controlling precedent. Therefore Carter’s sole claim for relief is without merit.



Conclusion



       Based on the foregoing analysis, it is respectfully recommended that the instant § 2255

Motion be DISMISSED WITH PREJUDICE. Because reasonable jurists would not disagree

with this conclusion, Petitioner should be denied a certificate of appealability and the Court

should certify to the Sixth Circuit that any appeal would be objectively frivolous and therefore

should not be permitted to proceed in forma pauperis.



July 12, 2016.

                                                                s/ Michael R. Merz
                                                               United States Magistrate Judge

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                           NOTICE REGARDING OBJECTIONS

Pursuant to Fed. R. Civ. P. 72(b), any party may serve and file specific, written objections to the
proposed findings and recommendations within fourteen days after being served with this Report
and Recommendations. Pursuant to Fed. R. Civ. P. 6(d), this period is extended to seventeen
days because this Report is being served by one of the methods of service listed in Fed. R. Civ.
P. 5(b)(2)(C), (D), (E), or (F). Such objections shall specify the portions of the Report objected
to and shall be accompanied by a memorandum of law in support of the objections. If the Report
and Recommendations are based in whole or in part upon matters occurring of record at an oral
hearing, the objecting party shall promptly arrange for the transcription of the record, or such
portions of it as all parties may agree upon or the Magistrate Judge deems sufficient, unless the
assigned District Judge otherwise directs. A party may respond to another party=s objections
within fourteen days after being served with a copy thereof. Failure to make objections in
accordance with this procedure may forfeit rights on appeal. See United States v. Walters, 638
F.2d 947, 949-50 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140, 153-55 (1985).




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